        Case 3:18-cv-02791-L Document 1 Filed 10/19/18                  Page 1 of 8 PageID 1


                             UNITED STATES DISTRICT COURT FOR
                              THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 SAMEER SYED, individually and on behalf of
 all other similarly situated;              CASE NO. 3:18-cv-2791

               Plaintiff,
                                                        CLASS ACTION COMPLAINT
 v.
                                                        DEMAND FOR JURY TRIAL
 BETO FOR TEXAS,

               Defendant.




          Plaintiff SAMEER SYED (“Plaintiff”), a Texas resident, brings this Class Action

Complaint by and through his attorney, the Shawn Jaffer Law Firm PLLC, against Defendant

BETO FOR TEXAS (“Defendant”) individually and on behalf of a class of all others similarly

situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure, based upon information

and belief of counsel, except for allegations specifically pertaining to Plaintiff, which are based

upon Plaintiff’s personal knowledge.

                                  NATURE OF THE ACTION

      1. Plaintiff brings this action individually and on behalf of all others similarly situated, for

damages pursuant to the Telephone Consumer Protection Act (“TCPA”) under 47 U.S.C. §227

et seq.

                                 JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the TCPA. Subject matter

jurisdiction is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1337, as the

action arises under the laws of the United States.


                                                    1
        Case 3:18-cv-02791-L Document 1 Filed 10/19/18                Page 2 of 8 PageID 2


    3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as a substantial portion the

events or omissions giving rise to the claims occurred here, and Defendant has its headquarters

here.

                                            PARTIES

    4. Plaintiff is a natural person residing in McKinney, Collin County Texas, which is

located within the Eastern District of Texas.

    5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

    6. Defendant is a political campaign headquartered at 4107 West Camp Wisdom Rd,

Dallas, Texas 75237.

    7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

    8. Defendant acted through its agents, employees, officers, members, volunteers, staffers,

directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives

and insurers at all times relevant to the instant action.

                                      CLASS ALLEGATIONS

   9. Plaintiffs bring this claim on behalf of the following class, pursuant to Fed. R. Civ. P.

23(a) and 23(b)(3).

   10. The Class consists of:

               a. all individuals with addresses in the State of Texas;

               b. to whom Defendant sent text messages to secure votes for Beto

                   O’Rourke’s campaign for the U.S. Senate;

               c. without obtaining their permission to send text messages to their

                   cellular telephones; and

               d. sent on or after a date one (1) year prior to the filing of this action and

                   on or before a date twenty-one (21) days after the filing of this action.
                                                   2
      Case 3:18-cv-02791-L Document 1 Filed 10/19/18                 Page 3 of 8 PageID 3


   11. The identities of all class members are readily ascertainable from the records of

Defendants.

   12. Excluded from the Plaintiff Class are the Defendants and all officer, members, partners,

managers, directors and employees of the Defendants and their respective immediate families,

and legal counsel for all parties to this action, and all members of their immediate families.

   13. There are questions of law and fact common to the Plaintiff Class, which common

issues predominate over any issues involving only individual class members. The principal issue

is whether the Defendant's sending of text messages using an automated telephone dialing

system to cellular phones of Texas residents without their permission violates 47 U.S.C. §§

227 et seq.

   14. The Plaintiff’s claims are typical of the class members, as all are based upon the same

facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the

Plaintiff Class defined in this complaint. The Plaintiff has retained counsel with experience in

handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff

nor her attorneys have any interests, which might cause them not to vigorously pursue this

action.

   15. This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

well-defined community interest in the litigation:

              a. Numerosity: The Plaintiff is informed and believes, and on that basis

                  alleges, that the Plaintiff Class defined above is so numerous that

                  joinder of all members would be impractical.

              b. Common Questions Predominate: Common questions of law and fact

                  exist as to all members of the Plaintiff Class and those questions
                                             3
Case 3:18-cv-02791-L Document 1 Filed 10/19/18             Page 4 of 8 PageID 4


         predominate over any questions or issues involving only individual

         class members. The principal issue is whether the Defendant's sending

         of text messages using an automated telephone dialing system to

         cellular phones of Texas residents without their permission violates 47

         U.S.C. §§ 227 et seq.

      c. Typicality: The Plaintiff’s claims are typical of the claims of the class

         members. The Plaintiff and all members of the Plaintiff Class have

         claims arising out of the Defendants' common uniform course of

         conduct complained of herein.

      d. Adequacy: The Plaintiff will fairly and adequately protect the

         interests of the class members insofar as Plaintiff has no interests that

         are adverse to the absent class members. The Plaintiff is committed to

         vigorously litigating this matter.

         Plaintiff has also retained counsel experienced in handling consumer

         lawsuits, complex legal issues, and class actions. Neither the Plaintiff

         nor her counsel has any interests, which might cause them not to

         vigorously pursue the instant class action lawsuit.

      e. Superiority: A class action is superior to the other available means

         for the fair and efficient adjudication of this controversy because

         individual joinder of all members would be impracticable. Class action

         treatment will permit a large number of similarly situated persons to

         prosecute their common claims in a single forum efficiently and without

         unnecessary duplication of effort and expense that individual actions


                                        4
      Case 3:18-cv-02791-L Document 1 Filed 10/19/18                   Page 5 of 8 PageID 5


                    would engender.

   16.          Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil

Procedure is also appropriate in that the questions of law and fact common to members of the

Plaintiff Class predominate over any questions affecting an individual member, and a class

action is superior to other available methods for the fair and efficient adjudication of the

controversy.

    17.         Depending on the outcome of further investigation and discovery, Plaintiff may,

at the time of class certification motion, seek to certify a class(es) only as to particular issues

pursuant to Fed. R. Civ. P. 23(c)(4).

                                   FACTUAL ALLEGATIONS

    18.        In 2018, Plaintiff began receiving text messages to his cellular phones, (973)

XXX-5508 and (201) XXX-6609, from Defendant.

    19.        At all times relevant to the instant action, Plaintiff was the sole subscriber, owner,

and operator of the cellular phone ending in -5508 and -6609. Plaintiff is and always has been

financially responsible for the cellular phone and its services.

    20.        Plaintiff received at least 9 text messages from Defendant from different phone

numbers.

    21.        When Plaintiff called the phone numbers that Defendant’s text messages came

from, all calls resulted in error messages or disconnected dial tones. This illustrates that text

messages did not originate from cellular phones but came from an automated telephone dialing

system.

    22.        Defendant knew Plaintiff phone numbers were cellular telephone phone numbers

before Defendant sent text messages to Plaintiff’s phone numbers.

    23.        Defendant never had permission to text or call Plaintiff’s cellular telephones.

                                                   5
      Case 3:18-cv-02791-L Document 1 Filed 10/19/18                Page 6 of 8 PageID 6


     24.      Plaintiff attempted to stop the text messages by texting back but there was no

response from the Defendant.

     25.      Defendant used an automated phone dialing system to text message Plaintiff’s

cellular telephones.

     26.      Defendant sent prerecorded text messages for Plaintiff on Plaintiff’s cellular

telephones.

     27.      The telephone dialing system used to call Defendant has the capacity to store

telephone numbers.

     28.      The telephone dialing system used to call Defendant has the capacity to call or

text telephone numbers automatically.

     29.      The telephone dialer system Defendant used to call Plaintiff’s cellular telephone

has the capacity to call or text stored telephone numbers without human intervention.

     30.      The telephone dialer system Defendant used to call or text Plaintiff’s cellular

telephone has the capacity to call telephone numbers in sequential order.

     31.      The telephone dialer system Defendant used to call or text Plaintiff’s cellular

telephone has the capacity to call telephone numbers randomly.

     32.      The telephone dialer system Defendant used to call or text Plaintiff’s cellular

telephone selects telephone numbers to be called according to a protocol or strategy entered by

Defendant.

     33.      The telephone dialer system Defendant used to call or text Plaintiff’s cellular

telephone simultaneously calls or texts multiple persons.

                            COUNT I – VIOLATIONS OF THE
                       TELEPHONE CONSUMER PROTECTION ACT
    34.       Plaintiff re-alleges and incorporates by reference paragraphs in this complaint as

though fully set forth herein.
                                                 6
       Case 3:18-cv-02791-L Document 1 Filed 10/19/18               Page 7 of 8 PageID 7


     35. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling or text messaging

 persons on their cellular phone using an automatic telephone dialing system (“ATDS”) without

 their consent. The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which

 has the capacity...to store or produce telephone numbers to be called, using a random or

 sequential number generator; and to dial such numbers.”

     36. In the case 9th Circuit case of Marks v Crunch San Diego, LLC the Court held:

              The U.S. Court of Appeals for the Ninth Circuit rejects the
              argument that a device cannot qualify as an automatic telephone
              dialing system unless it is fully automatic, meaning that it must
              operate without any human intervention whatsoever. By referring
              to the relevant device as an "automatic telephone dialing system,"
              Congress made clear that it was targeting equipment that could
              engage in automatic dialing, rather than equipment that operated
              without any human oversight or control. 47 U.S.C.S. § 227(a)(1).

Marks v. Crunch San Diego, LLC, No. 14-56834, 2018 U.S. App. LEXIS 26883, at *1 (9th Cir.
2018).

     37. Defendant used an ATDS in connection with its communications directed towards

 Plaintiff’s cellular phone. All text messages were pre-recorded with similar to identical

 formatting. None of the phone numbers had the ability to receive a return phone call. This

 points to the use of an ATDS.

     38.   Defendant violated the TCPA by sending at least 9 text messages to Plaintiff’s

 cellular phone using an ATDS without his consent.

     39. The calls placed by Defendant to Plaintiff were regarding political campaign activity

 and not for emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

     40. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to

 Plaintiff for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of

 the TCPA should trigger this Honorable Court’s ability to triple the damages to which Plaintiff

 is otherwise entitled to under 47 U.S.C. § 227(b)(3)(C).
                                                 7
     Case 3:18-cv-02791-L Document 1 Filed 10/19/18                Page 8 of 8 PageID 8


   WHEREFORE, Plaintiff, SAMEER SYED, individually and on behalf of all others

similarly situated, demands judgment from Defendant BETO FOR TEXAS, as follows:

   a. Declaring that this action is properly maintained as a Class Action and

      certifying Plaintiff as Class representative, and Shawn Jaffer, Esq. as Class

      Counsel;

   b. Award Plaintiff and the Class statutory damages of at least $500.00 per phone

      call/text message and treble damages pursuant to 47 U.S.C. §§

      227(b)(3)(B)&(C); and

   c. Awarding any other relief as this Honorable Court deems just and appropriate.

                                              Dated: October 19, 2018

                                              Respectfully submitted,

                                              /s/ Shawn Jaffer.
                                              SHAWN JAFFER, ESQ.
                                              Texas Bar No.: 24107817
                                              E-mail:    shawn@jafflaw.com
                                              SHAWN JAFFER LAW FIRM PLLC
                                              15950 Dallas Parkway, Suite 400
                                              Dallas, Texas 75248
                                              Phone:     214-210-0730
                                              Fax:       214-594-6100

                                              ATTORNEY FOR PLAINTIFF
                                              SAMEER SYED




                                               8
